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                             EXHIBIT A
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       REPORT OF INVESTIGATION
                  to
         CELEBRATION CHURCH
        OF JACKSONVILLE, INC.

                         April 24, 2022




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        Do not admit a charge against an elder except on the evidence of two or
        three witnesses. As for those who persist in sin, rebuke them in the presence
        of all, so that the rest may stand in fear.

                                           1 Timothy 5:19-20.

                      I. INTRODUCTION AND BACKGROUND

         Nelson Mullins was contacted by attorney Steven Goodspeed from The Church
  Lawyers (Middlebrooks & Goodspeed) in Dallas, Texas. Goodspeed had been engaged by
  Celebration Church of Jacksonville, Inc. (“Celebration” or the “Church”) regarding the
  terms and structure of an agreement in which Pastor Stovall Weems (“Weems”) would
  transition out of the Senior Pastor position at Celebration. During the course of the
  discussions about the transition, it was revealed by or to the Church’s Board of Trustees
  (each a “Trustee” and collectively the “Board”) that there had been certain questionable
  financial practices and other pastoral issues under the Weemses’ leadership of the
  Church. In light of these claimed improprieties, in January 2022 the Board voted to
  suspend Stovall and Kerri Weems (“Kerri Weems”) from their positions with the Church,
  place them in “not good standing” under the Church’s bylaws, and authorize an
  investigation to determine the veracity of the allegations. Nelson Mullins was retained to
  conduct the investigation.

         Our investigation included an extensive analysis of thousands of pages of
  documents and more than 20 interviews with current and former senior leadership team
  members, staff members, former Trustees, and other advisors and consultants. Each
  interview was conducted with witnesses who had direct, first-hand knowledge of the
  events discussed. These interviews were, and remain, confidential and privileged under
  the attorney-client communication privilege and the work product doctrine. Each witness
  was first provided with an Upjohn warning and confirmed his or her willingness to answer
  questions. To preserve the privileged nature of these interviews, this report does not
  include direct quotes or attributions of statements to specific witnesses and uses general
  descriptions of testimony where specificity would have revealed the source. All testimony
  referenced in this report was corroborated by multiple witnesses or by documentation.

         We requested that Stovall and Kerri Weems be interviewed in connection with this
  investigation, but they refused. They have also refused to recognize the authority of the
  Board to undertake these actions and the legitimacy of this investigation. Despite their
  refusal to participate in this investigation, the Weemses have made numerous public
  statements to media outlets and through their social media accounts deriding the Church,
  the Trustees, and this investigation. Perhaps worse, although the Church’s bylaws require
  that all disputes be submitted to mediation and arbitration pursuant to the Christian
  Conciliation process, the Weemses filed a civil action in state court to prevent the
  investigation from continuing and unwind the Board’s actions. At every stage in the
  process, the Weemses have actively opposed and attempted to undermine the
  investigation process and prevent its completion.



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           After the investigation was completed but before this report was finalized, Weems
  resigned all of his positions with the Church. While the Weemses no longer hold any
  positions of authority at Celebration, this report is being provided to assist the Board in
  fulfilling its biblical and legal obligations.

         A. Celebration’s Corporate Governance

         Celebration is governed by the following legal authorities: (1) the Florida Not for
  Profit Corporation Act, FLA. STAT. § 617.01011, et seq.; (2) the Amended and Restated
  Articles of Incorporation of Celebration Church of Jacksonville, Inc. adopted on
  December 1, 2013 (the “Articles”); (3) the Amended and Restated Bylaws of Celebration
  Church of Jacksonville, Inc. adopted on January 13, 20221; (4) the Celebration Church
  Employee Handbook revised on May 3, 2021 (the “Employee Handbook”); and (5) the
  policies approved by the Board of Trustees (the “Board Policies”).

         Celebration is a board-led church. Plenary power to manage and govern the affairs
  of the church is vested in the Board. Articles Art. 9; Bylaws Arts. 4-6. More specifically,
  the Board has the duties and responsibilities generally associated with and exercised by a
  corporate board and as such, is the only governing body within the Church. Bylaws § 8.01.
  Accordingly, all corporate power is to be exercised under the authority of the Board. Id.
  This specifically includes the management and oversight of all of the Church’s financial
  resources, including the acquisition and disposition of Church property (both real and
  personal). Id. Even more specifically, this includes the power to buy, sell, mortgage,
  pledge or encumber property owned by the Church; to approve or disapprove the transfer
  of church assets to other tax-exempt organizations; and to approve or disapprove of any
  transaction unrelated to the purposes of the Church. Id.

         The Church’s executive functions and day-to-day operations are managed by the
  Senior Pastor. Bylaws Art. 7. The Senior Pastor serves as the President and Chief
  Executive Officer of the Church and is responsible to manage the Church’s operations in
  accordance with biblical principles. Bylaws §§ 7.01-7.02. Specifically, the Senior Pastor’s
  duties include: serving as the leader of the Church body, staff, organizations, ministries,
  and Trustees; defining and communicating the Church’s purpose; administering and
  coordinating the day-to-day operations of the Church; nominating and removing
  Overseers; appointing, directing, and overseeing the senior leadership team; hiring,
  directing, and overseeing Church staff; and endeavoring to ensure that the directives and
  resolutions of the Trustees are carried out. Id. The Senior Pastor serves as the Chairman
  of the Board, but is not entitled to vote on board matters. Bylaws § 7.05.




  1 Prior to January 13, 2022, the church was governed by the Amended and Restated

  Bylaws of Celebration Church of Jacksonville, Inc. adopted on October 25, 2015.
  Collectively, this report will refer to these documents as the “Bylaws.” To the extent there
  is a material difference in their terms, the report will reference the “2015 Bylaws” or the
  “2022 Bylaws.”
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         Under Florida law, the Senior Pastor owes the Church fiduciary duties. FLA. STAT.
  § 617.0834(1) (“An officer … of a nonprofit organization … is not personally liable for
  monetary damages to any person for any statement, vote, decision, or failure to take an
  action, regarding organizational management or policy by an officer or director, unless:
  (a) The officer or director breached or failed to perform his or her duties as an officer or
  director; and (b) The officer’s or director’s breach of, or failure to perform, his or her
  duties constitutes … [a] transaction from which the officer or director derived an
  improper personal benefit, directly or indirectly…”) (emphasis added). Where an officer
  of a nonprofit corporation breaches a duty to the corporation and derives a personal
  benefit for doing so, he or she is personally liable for any resulting damages.

         The Senior Pastor is subject to oversight and management by the Board in matters
  of corporate governance and the Overseers in spiritual and disciplinary matters. Bylaws §
  7.07. An investigation may be initiated at the request of two Trustees or two senior
  leadership team members. Bylaws § 7.07(a). The subject matters appropriate for
  investigation include immoral conduct, improper financial practices, or espousing
  improper theological beliefs. Id. Investigations are conducted by or on behalf of the
  Overseers, or if there are fewer than three Overseers, by or on behalf of the Board. Bylaws
  § 7.07(b), 2022 Bylaws § 7.07(c). If the Overseers or the Board determines that discipline
  is warranted by a majority vote, they are empowered to: assume complete authority over
  the Senior Pastor’s ministerial activities; discipline the Senior Pastor in any way deemed
  necessary; remove the Senior Pastor from his leadership position; and/or terminate the
  Senior Pastor’s employment. Id.

          The Bylaws also authorize the Trustees to investigate and discipline, if warranted,
  “all reported concerns or complaints regarding corporate accounting practices, internal
  controls, or auditing.” Bylaws § 17.02(d). In responding to a complaint, the Trustees are
  required to “determine whether an investigation is appropriate and the form that it should
  take.” Bylaws § 17.02(d). The Trustees must promptly investigate, and then take
  appropriate corrective action if warranted by the investigation. Bylaws § 17.02(e).

         B. The Authorization of this Investigation

         The 2015 Bylaws provide that the Overseers have sole authority to respond to a
  request for investigation and impose discipline on the Senior Pastor. 2015 Bylaws §
  7.07(b). The Bylaws also require that the Church have at least three Overseers in place at
  all times. Bylaws § 10.03. It is the sole responsibility of the Senior Pastor to nominate
  Overseers to the Board. Id. As long as disciplinary action against the Senior Pastor is being
  considered, the composition of the Overseers cannot be changed. Bylaws § 10.04. Under
  the 2015 Bylaws if the Senior Pastor failed to nominate Overseers but an investigation
  had been requested, there was no mechanism to investigate or impose discipline on the
  Senior Pastor. Therefore, the Senior Pastor could avoid oversight or discipline by not
  nominating any Overseers. This was the predicament faced by the Church in January
  2022.




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         In 2021, the Church had only two Overseers: Dino Rizzo and John Siebeling. When
  both resigned in September 2021, Weems did not nominate any replacements. Then, on
  January 4, 2022, Trustees Fitz Powell, Kevin Cormier, and Marcus Rowe requested that
  an investigation be conducted into potentially improper financial practices engaged in by
  Weems. In response, on January 4 Weems stated that only the Overseers could conduct
  an investigation. On January 5, Weems attempted to nominate three Overseers: Sean
  Yost, Scott Volk, and Bryan Schwartz. Of these, Mr. Volk and Mr. Schwartz were not
  ordained pastors at respected congregations and were therefore unqualified to serve as
  Overseers. Bylaws § 10.01. Even if they were qualified, though, the Board could not
  approve them because the composition of the Overseers could not be changed due to the
  pending request for an investigation. Bylaws § 10.04. Ultimately, the Board did not
  approve the nominated Overseers.

         On January 13, 2022, the Board approved the 2022 Bylaws, which added Sections
  7.07(c) and 7.08(e). Section 7.07(c) provides that if there are fewer than three Overseers,
  the Board shall assume the roles and responsibilities of the Overseers. This is consistent
  with the Board’s historical authority to investigate and discipline, if warranted, “all
  reported concerns or complaints regarding corporate accounting practices, internal
  controls, or auditing.” Bylaws § 17.02(d). Thereby fully empowered to act by the Bylaws,
  on January 13 the Board voted to initiate an investigation and to retain Nelson Mullins to
  conduct it and to report its findings to the Board. This report comprises the findings of
  our investigation.

         Our investigation was performed according to biblical principles. Pursuant to the
  Board’s directive, this investigation was designed and intended to reveal and report the
  truth of what has transpired at Celebration under the Weemses’ leadership.

                                 II. FINDINGS OF FACT

        A. Summary

         Stovall Weems engaged in a series of improper and unauthorized financial
  transactions through which he personally benefitted, either directly or indirectly, at the
  expense of the Church. Weems failed to present these transactions to the Board for its
  review and approval, which he was required to do pursuant to Florida law and the
  Church’s governing documents. When three Trustees sought to question these
  transactions, Weems retaliated by attempting to remove them. Although Weems has a
  duty to cooperate with this investigation, he has refused to do so.

        Since at least 2019, the Weemses’ leadership of the Church has been inconsistent
  and unbiblical. Stovall Weems failed to effectively define and communicate the Church’s
  purpose, failed to properly administer the organization, nominate Overseers, oversee
  Church staff, and ensure the Board’s directives were met effectively and efficiently.
  Instead, Weems has acted erratically, creating a culture of confusion and disarray that has
  hindered the Church from effectively carrying out its mission. Worse, Weems’ leadership
  was marked by rampant spiritual and emotional abuse, including manipulation, a
  profound sense of self-importance and selfishness, superiority and entitlement,

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  overbearing and unreasonable demands on employees’ time, a lack of accountability or
  humility, demands of absolute loyalty and compliance, public shaming and humiliation
  of employees, coercion, shunning, gaslighting, and the creation of a culture of fear and
  intimidation in which it was not safe to disagree with Weems.

         Each of the above actions constitutes a separate and independent basis justifying
  the discipline of the Senior Pastor, up to and including ratifying the removal of his
  leadership position and termination of his employment.

        B. Overview of the Weemses’ Leadership of Celebration

         Stovall and Kerri Weems, among others, founded Celebration in 1998. Since then,
  the Church has experienced great success and growth. Celebration currently has 3,745
  active members across five campuses. Celebration’s early years were marked by the
  development of a small, tight-knit group of people who helped grow and lead the Church
  in the following years. Many of Celebration’s current senior leadership team and
  employees have been with the Church since the early 2000s. Their knowledge and
  understanding of the Church, and their first-hand witness of its—and the Weemses’—
  transformation, provide a valuable resource that was extremely helpful in our
  investigation. The Church’s deep bench of longtime volunteers, employees, leaders, and
  pastors is among its greatest assets and a key reason for the Church’s growth and success.

         Stovall Weems, as the Church’s longtime Senior Pastor, was responsible for the
  management of the Church’s day-to-day operations and the spiritual leadership of the
  Church. Witnesses described troubling details regarding the Weemses’ dysfunctional
  leadership style. Many of these issues were detailed in a Baseline Report prepared in
  November 2020 by Network King, a firm hand-picked and commissioned by the
  Weemses.

         The Network King report identified six key ways in which the Church required
  improvement: leadership challenges, poor communication, limited planning and
  forecasting, lack of professional development, ineffective governance, and lack of focus
  on performance. The Network King report found that the root cause of most of these
  issues was a failure of executive leadership. The report summarized its observations of
  the Church’s executive leadership as including:

           Unclear vision, mission, and values
           Unclear leader intent
           Lack of developed strategy
           Inconsistent guidance
           Centralized decision-making
           Rampant hasty decision-making
           Lack of delegation
           Micromanagement
           General lack of order
           Poor expectation management

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            Lack of accountability
            Lack of effective change management
            Lack of mentorship
            No leadership development program
            Personal activities impacting professional operations

  The Network King report stands as a scathing indictment of the Weemses’ failed
  leadership at Celebration. We understand that another, even more critical report
  specifically addresses the Weemses, but we have been unable to obtain a copy of it.

          The single word used most frequently to describe Stovall Weems was: narcissist.
  When asked to describe Weems, nearly every witness we interviewed used that specific
  word. Many witnesses detailed, often through tears, instances when Weems personally
  belittled and humiliated them for minor mistakes or misunderstanding Weems’
  inconsistent and confusing directives. Worse, Weems created and fostered an
  environment in which he was not subject to accountability. Many witnesses explained that
  the first rule to survive at the Church was “We don’t say no to Pastor.” In this way, he was
  able to impose his will on others to force their compliance with his demands. Neither
  Stovall nor Kerri Weems served anyone at the Church. Instead, they demanded others to
  serve them – the antithesis of Christ-like personal sacrifice and service to others.

         The Weemses’ demands blurred the line between employees’ personal and
  professional lives to such an extent there was no apparent difference between them. Total
  responsibility to serve the Weemses in all ways at all times was required to appease them.
  Witnesses described many examples of overbearing demands. One witness reported that
  she had to beg for one hour per day in which she was not required to immediately respond
  to text messages. Another reported that Weems instructed an employee to drive to a
  liquor store late at night and deliver a bottle of bourbon to his house because he did not
  want to be seen purchasing liquor. Another recounted that an employee was instructed to
  purchase a car for Weems and deliver it to his house. After the employee delivered the car
  as demanded, Weems told him to find his own ride home. Many witnesses described
  intense personal anguish and pain caused by working for the Weemses. One witness
  expressed an inability to return to church—any church—due to crippling anxiety and
  panic attacks.

        Weems considered himself a visionary and frequently presented big ideas in
  conceptual form. These ideas were often simultaneously complex and unfinished, and
  Weems suffered an inability to fully explain his plans or how they should be implemented.
  Weems constantly wanted to execute on these plans during their conceptual phase
  without further analysis or refinement. When employees presented feasibility issues that
  would limit or prevent these ideas from being successful, they were ridiculed as
  “dreamkillers.” Employees who raised questions or challenged ideas were quickly
  removed from the decision-making process. Many witnesses described knowing whether
  they were “in” or “out” of Weems’ circle of trust by whether Weems would communicate—
  or not—with that person. Shunning, isolating, and discarding were common tactics used
  to punish anyone who expressed a disagreement or concern with an idea presented by
  Weems.

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          As the Church became more successful, the lavishness of the Weemses’ lifestyle
  also increased. Private charter flights to exotic vacations, a full “house staff” to assist in
  maintaining their mansions, and personal assistants required to attend to the Weemses’
  every demand all became trappings of their life. The Weemses’ compensation, staff, travel
  and expense accounts comprised approximately 10% of the Church’s total revenue.
  Despite these privileges, the Weemses treated people who attended to them as inferior.
  In 2020, Weems drafted a document that instructed the Weemses’ assistants on how they
  were to keep each of the three residences so the Weemses would not be bothered during
  their transitions between homes. This was so the Weemses could focus on their “spiritual
  acuity” at all times.

         The Weemses also posted schedules of their required food and beverage service so
  that their employees would know how to serve them food and drinks. These instructions
  included specifications on the times of day the items were to be provided, exact
  requirements for each item, and a description of how the items were to be presented to
  the Weemses (on “real dishes” presented on a “serving tray”). These instructions—similar
  to over-the-top green room riders required by celebrities—reflected the Weemses’
  immense entitlement and self-importance.

        Since Tim Timberlake was brought into Celebration in 2019, the Weemses were
  seldom seen at the church. Many witnesses could not remember the last time that the
  Weemses worshipped at Celebration.

         C. The Encounter

         The Encounter was a pivotal moment in Celebration’s history. At a Seder service
  on Passover in 2018, Stovall Weems claimed he had a personal encounter with Jesus
  Christ. Guest pastor Paul Wilbur, a messianic Jew, came to explain and reenact the
  ancient Hebrew/Judaic Passover Supper at Celebration. At the event, Weems became
  transfixed on a piece of bread he was holding. Weems stared blankly at the bread for a
  long time and then appeared bewildered, stunned, and speechless as his attention turned
  back to the events on the stage.

         A video of the service at which the Encounter took place can be viewed here:
  https://youtu.be/swkJMbGuKa4?list=PLCIFIIMQrbfC1yXgmCMaZP0xMEbbwEHKv&t
  =6566

         Afterward, Weems described that he had seen Jesus on the stage and been
  transported to the Last Supper the night before Jesus’ crucifixion. Weems claims that he
  was physically with Jesus Christ and that Jesus spoke with him, directing his attention to
  the future and what Christ wanted for the Weemses to accomplish on Earth. Weems
  described Jesus as having dark hair, a white robe, and speaking in Hebrew.

         This report takes no position on whether the Encounter was real. There is no way
  to confirm or deny—legally or factually—what was going on inside Weems’ mind during
  that time. There is evidence that the Weemses were under a tremendous amount of
  personal stress during this time that may have impacted Weems’ mindset that evening.

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  Regardless, after the Encounter things changed dramatically. Most witnesses recall that
  event was the catalyst for dramatically changed behaviors and actions by the Weemses in
  the following years.

         Witnesses to the events at the Weems residence in the days following the
  Encounter describe Weems as visibly shaking and sobbing. They also confirmed that Kerri
  Weems was distraught and overwhelmed by her husband’s behavior. Kerri Weems has a
  history of clinical depression, a topic which she openly discussed. People close with Kerri
  Weems stated that she expressed being suicidal as a result of the Encounter and Weems’
  behavior following it. Despite repeated requests by many, the Weemses refused to take
  any meaningful time off after the Encounter to process the event.

         Over time, Weems used the Encounter and subsequent messages flowing from the
  Encounter to justify his authority and maintain control of the Church. If questioned,
  Weems would respond by saying that this direction was given to him by God through the
  Encounter. As a result, staff were not permitted to challenge Weems for fear of being
  accused of disobeying God’s will. Because only Weems experienced the Encounter, only
  he had the ability to interpret its meaning and direction. When employees would ask
  questions or express confusion over Weems’ directions, he would tell them that he had
  only disclosed part of the vision God deposited in him through the Encounter. In that way,
  Weems exercised control by claiming a secret divine revelation.2

         One of the results of the Encounter was Weems’ decision to “give away” the Church
  to Pastor Tim Timberlake – without first telling Kerri Weems, the board, senior
  leadership team, or the staff. The absence of any communication or coordination
  surrounding this handoff was the genesis for an extremely disorganized and disruptive
  transition, which ultimately culminated in this investigation.

        D. Post-Encounter Leadership of the Church

         For months following the Encounter, Weems struggled to form words or
  communicate effectively. He was disengaged in business meetings with staff and cried
  frequently. The Encounter magnified his demand for control and his defiance to authority
  or accountability. Anyone—trustees, pastors, senior leaders, employees—who did not
  serve the needs of the Weemses was replaced. Anyone who challenged Weems’ judgment
  or control of the Church was removed. He and Kerri Weems frequently repeated that the
  Board reported to them, not the other way around. Weems said that while he may have
  needed Overseers during his younger years, he no longer felt he did.

        Most staff members described 2019 as a very confusing time. Weems struggled to
  process the Encounter and every decision was based on a disjointed understanding of its
  meaning. Weems would make decisions and demand they be carried out immediately,
  only to later reverse himself. Communications were sporadic and no clear chain of
  command was established. Weems often shuffled employees between positions

  2 The concept that a special knowledge of God is made available only to a select few is a

  tenet of Gnosticism condemned for centuries as heretical.
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  depending on who was in his inner circle. Because employees had poorly-described job
  functions and were constantly being reassigned, many employees did not know who was
  in charge of the Church’s operations. Weems also began making strange comments about
  sweeping changes he intended for the Church’s ministry. At one point he suggested the
  Church needed to learn how to function without any buildings.

          During this time, Weems also appeared physically and mentally unwell. Members
  of the senior leadership team were so concerned that they convened a meeting to confront
  him about his mental health and the impact it was having on the Church’s ability to
  function effectively. Although the meeting seemed to have gone well initially, it ultimately
  had no lasting impact and Weems continued to spiral.

         In 2020, COVID-19 led to a complete disruption of the Church’s operations. This
  disruption was further complicated by a plan developed by Weems to “separate the
  business from the Church” by spinning off several ministries as stand-alone corporate
  entities. In September 2020, the Board was comprised of Erik Sharpe, Jonathan
  MacArthur, Todd Gicalone, and Fitz Powell, all of whom were experienced Trustees who
  had served since at least 2014. At the September 2020 Board meeting, Weems presented
  his vision for a massive restructuring plan that included a request to seek a new $14
  million credit line to fund proposed real estate transactions and capital improvements.
  The proposed reorganization was a confusing and poorly-conceived plan. Weems never
  fully grasped the complexities involved, continually changed direction, and failed to
  adequately explain his concepts to the board, senior leaders, and staff. Recognizing major
  issues with this reorganization, the board required that Weems provide it with business
  plans for each entity to be spun off. Some business plans were provided at the October
  2020 Board meeting, but the Board later concluded they were of limited value.

         Friction between Weems and the Board grew. At the December 2020 Board
  meeting, the Trustees came prepared to engage in an extensive conversation about
  Weems’ reorganization plan. While the Church’s revenues were 15% short of projections,
  Weems advocated for the Board to approve $14 million in new debt. When the Trustees
  questioned him about the details of his plan, and specifically how the Church would
  service the new debt, Weems responded with frustration and indignance. Instead of
  providing a business case to support his plan, Weems demanded that the Trustees either
  immediately approve the plan without further questions or end the meeting. When the
  Trustees asked for a 5-minute break to ease the tension, the Weemses walked out.3




  3 The debt proposal was approved in the Weemses’ absence, but the property purchase

  ultimately fell through because of a title defect that Weems had failed to identify. This is
  another example of problems that arose as a result of Weems’ rushed decision-making
  and failure to adequately analyze issues before demanding execution (and God’s grace in
  saving the Church from critical mistakes).
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        At the end of 2020, the Church’s longstanding CFO Lisa Stewart left to become the
  CEO of Honey Lake Clinic. In the interim, Devan Schanding served as interim CFO.
  Stewart’s permanent replacement, Tojy Thomas, joined in January 2021 but left by May
  because of extremely poor treatment by Weems. Thomas came from an accounting
  background with substantial nonprofit experience at the University of Chicago and
  Woodman Valley Chapel in Colorado Springs. One of Thomas’s primary tasks was to
  implement the separation of these ministries (AWKNG, Honey Lake Farms) from the
  Church. To accomplish this, Thomas needed to understand what these entities were
  designed to do, what purpose they historically served, what assets and liabilities
  “belonged” to each entity, and who each entity would employ going forward.

          Thomas learned that Weems had a poor understanding of the Church’s
  organizational structure and financial position, including its revenues and expenses. As
  things progressed, Thomas became increasingly concerned about the Church’s cash burn
  rate and how it was depleting the Church’s cash balance. The Church’s financial
  statements reflect that its cash balance dropped from $9 million in October 2020 to $6
  million in December 2020, then to $2 million in March/April 2021. Weems never had a
  grasp of where the money went and would oscillate between negligent attention to
  financial details and aggressive demands for voluminous information. He could never
  keep all of the parts straight in his head, and he blamed this confusion on the providers
  of the information (Stewart, Thomas, Cormier).

         After Thomas left, Weems did not fill the position of CFO but instead relied on the
  HR director to assume some of the responsibilities of that position. The turmoil of the
  reorganization combined with the turnover of accounting and financial professionals
  resulted in a highly disorganized and dysfunctional enterprise in early-to-mid 2021.

           Part of this confusion was caused by Weems’ failure to recognize and treat the
  different entities as distinct. Although Weems was a full-time employee of the Church,
  paid by the Church and responsible for raising funds on behalf of the Church, he would
  obtain donations and then direct them to be deposited into other entities’ accounts. This
  was problematic because it was never clear that any entity was capable of financial success
  independent of the Church. This has been proven out by AWKNG’s demise. When
  AWKNG was spun off and Weems was responsible for its management outside of the
  Church’s control, it immediately failed. In January 2022, AWKNG fired all but a handful
  of its staff – 40 employees were let go. Demonstrating a lack of empathy and obliviousness
  to the workers who had just lost their jobs, Weems asked the fired employees to pray for
  Kerri Weems because of how hard it had been on her. Kerri Weems did not attend the
  meeting at which the employees were laid off.




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        E. Lack of Oversight from December 2020 to June 2021

         In the aftermath of the December 2020 board meeting, Trustees Sharpe,
  MacArthur, and Gicalone determined that they could no longer continue to serve on the
  Board if the Senior Pastor refused to accept any accountability or governance. In February
  2021, Mr. Sharpe, Mr. MacArthur, and Mr. Gicalone resigned as Trustees. In their
  resignation letter, they outlined a series of concerns they had with the direction of the
  Church, including its over-accumulation of debt, financial commitments made without
  board authorization, conflicts of interest between organizations, the absence of the
  minimum number of required Overseers, an organizational complexity that made
  transparency and oversight difficult, and poor staff reviews and accountability. These
  concerns mirrored those set forth in the Network King report issued a few months prior.
  The letter restated the Board’s policy requiring Board approval of any expenditure over
  $5,000 not previously included in an approved budget. Their resignation left Mr. Powell
  and Mr. Rowe as the Trustees.

          The Church’s annual report filed in March 2021 lists the current Trustees as
  directors, but despite the near-complete turnover of the Board and the serious
  management concerns raised by Network King and the outgoing Trustees, Weems did not
  call a meeting of the Board from December 10, 2020 to June 3, 2021—nearly six months.
  During this period, Weems acted without any accountability or oversight by the Board or
  the Overseers. This was also the period during which the CFO role transitioned three
  times, from Stewart to Schanding to Thomas. Uncoincidentally, it was during this period
  when all of the improper financial transactions occurred. Weems eliminated or ignored
  all oversight, accountability, and compliance mechanisms that acted to limit his
  discretion and acted unilaterally.

        F. Improper Financial Transactions

               1. The Parsonage at 16073 Shellcracker Road

         In January 2020, at the request of the Weemses, the Church agreed to purchase a
  parsonage for the Weemses to use as their personal residence. The property, located at
  4504 Hunterston Lane in Glen Kernan Golf and Country Club, was purchased on January
  14, 2020 for $1,295,000. The Board approved the purchase and executed a resolution
  authorizing Lisa Stewart to execute the necessary documents to close on the purchase. In
  connection with the Church’s purchase, Celebration and the Weemses entered into a
  Parsonage Use License Agreement setting forth the rights of the parties with respect to
  the use of the parsonage. The Agreement related only to the Hunterston property, and
  would terminate on the date the Weemses abandoned the parsonage as their primary
  residence.

        At some point thereafter, the Weemses decided they wanted to relocate. In
  connection with the Church’s sale of the Hunterston parsonage, Weems asked if he could
  keep the proceeds from the sale. He was told by Tojy Thomas that because the Church
  owned the property, he was not entitled to the sale proceeds. The Hunterston parsonage


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  was sold on June 4, 2021 for $1,475,000. Weems never presented the potential sale of
  the Hunterston parsonage to the Board. Celebration kept the sale proceeds.

         Meanwhile, on February 9, 2021 Weems Group, LLC—of which Weems is the sole
  member and its manager—purchased a single-family residence at 16073 Shellcracker
  Road on the Nassau River. The property was listed for sale at $875,000 but Weems Group
  bought it for $855,000. The appraisal obtained by Weems Group in connection with
  financing its purchase of the property valued it at $890,000 as of December 23, 2020.

        Four months after Weems Group purchased the Shellcracker property, Weems
  Group sold it to the Church for $1,286,863.30—an increase of $431,386, more than 50%
  more than Weems Group had just paid. The Church’s purchase of the Shellcracker
  property was not disclosed to or approved by the Board. The closing documents were
  signed by Weems on behalf of both Weems Group and the Church. The Church financed
  the purchase of the property by drawing on its line of credit from its primary lender,
  Wesleyan Investment Foundation (“WIF”). Weems executed a Mortgage Modification
  and Spreading Agreement encumbering the Shellcracker parsonage and increasing the
  Church’s debt by $1,300,000.

          To induce WIF to advance funds to the Church under its line of credit, Weems
  represented to WIF that the Board had approved the purchase of the Shellcracker
  property when it hadn’t. What Weems claimed as authorization was the Board’s prior
  approval of the purchase of the Hunterston parsonage, not the Shellcracker property. The
  failure to provide that important information was a material misrepresentation, an Event
  of Default under the Church’s Promissory Note to WIF, and a breach of the Church’s
  Business Loan Agreement with WIF.

        Weems did not commission an appraisal of the property on behalf of Celebration
  when his company sold it to the Church, and the Duval County Property Appraiser has
  determined that the sale is not a “qualified” sale under the Florida Administrative Code
  (meaning it was determined not to be an arm’s length transaction). An email sent by
  Sarah Mannion, the attorney that closed the sale, indicates that the Weems Group kept
  the $430,000 profit it made on the sale of the property.

        The purchase of the Hunterston parsonage and the purchase of the Shellcracker
  property were fundamentally different in several ways:

         The Board was presented with the purchase of the Hunterston property and
          authorized the transaction via formal board action evidenced by a written
          resolution but was never presented with or authorized the purchase of the
          Shellcracker property.
         Lisa Stewart was authorized to execute the documents necessary to close on the
          Hunterston property purchase, but Weems was never similarly authorized to
          purchase the Shellcracker property.
         The Church and the Weemses entered into a license agreement for the use of the
          Hunterston property, but not the Shellcracker property.


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         The Hunterston property was brought from and sold to unrelated third parties,
          while the Shellcracker property was bought from a company owned by Weems
          (and through which he obtained a huge financial windfall).

         The Weemses have claimed that the Shellcracker purchase was merely a “transfer”
  of the parsonage from one location to another. But the resolution authorizing the
  Hunterston acquisition and the license use agreement both make clear that they
  specifically related only to that particular property and were not a blank check for the
  Weemses to buy and sell properties as they saw fit.

         The Weemses have attempted to justify keeping the profit the Weems Group
  realized by flipping the Shellcracker property because the money was needed for
  “improvements.” The Weemses’ claim that these funds were used to improve the property
  appears to be entirely false. There is no evidence that any improvements have been made
  to the property, and certainly not improvements worth $430,000. First, the Building
  Department’s records do not show that any permit applications have been filed for work
  to be performed at the Shellcracker property, and no notices of commencement have been
  recorded in the Duval County official records. Second, and more damning, when asked by
  the Weemses’ realtor whether any renovations would be made to the property after
  closing for the purpose of obtaining homeowner’s insurance, Weems sent an email
  stating: “No renovations after closing.”

         But even if that justification were true, it ignores the Weemses’ direct and
  undisclosed conflict of interest in the transaction, the material misrepresentation made
  by Weems to WIF, and the absence of authority to purchase and mortgage property on
  behalf of the Church without notice to or approval by the Board. Standing alone, the
  improprieties and misrepresentations surrounding this transaction are sufficient grounds
  to disqualify the Weemses from serving as pastors and constitute a valid basis for their
  immediate termination.

               2. The Second PPP Loan

         In 2020, the Church applied for and was granted a loan under the federal Paycheck
  Protection Program (“PPP”). The first PPP loan was in the amount of $2.2 million and
  was used by the Church to pay staff salaries. Weems at different times asked if the Church
  could use the loan proceeds for general operating expenses or for other ministries. In
  response, it was explained that the loan could only be used for specific purposes, because
  the loan rules required that the funds be used only for very specific purposes. Ultimately,
  the loan was used for its required purposes, each expenditure was documented, and the
  Church sought, and was granted, forgiveness of the loan. Lisa Stewart, the Church’s then-
  CFO, managed the process.




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         In April 2021, the Church applied for a second PPP Loan. Tojy Thomas was the
  Church’s CFO when the second PPP loan application was submitted, which included the
  following certification:

         The funds will be used to retain workers and maintain payroll; or make
         payments for mortgage interest, rent, utilities, covered operations
         expenditures, covered property damage costs, covered supplier costs, and
         covered worker protection expenditures as specified under the Paycheck
         Protection Program Rules; I understand that if the funds are knowingly
         used for unauthorized purposes, the federal government may hold me
         legally liable, such as for charges of fraud.

  Thomas had resigned by the time the loan was approved and $1,106,400 in loan proceeds
  were received by the Church. Freed from the financial and accounting professionals that
  ensured Weems complied with the law, the Church’s financial records indicate that none
  of the loan proceeds from the second PPP loan were used for permitted expenditures.
  Instead, Weems directed that the funds be spent on the following:

        $100,000 to invest in TurnCoin on behalf of the Church,4 a digital security with
         which fans can “invest” in “talented people in all passions of life; sport, esports,
         music, art, entertainment and more.”

        $856,033.33 was transferred to Honey Lake Farms’s First Citizens Missions
         Account,5 of which $150,000 was used to buy TurnCoin on behalf of Honey Lake
         Farms and $150,000 was used to buy TurnCoin on behalf of AWKNG.

        $100,000 was transferred to the Church’s Missions account to cover a transfer of
         $100,000 to an unrelated church ministry in Nevada.6

         In total, $500,000 of PPP loan proceeds were used to purchase TurnCoin. All of
  these transactions were directed by Weems without notice to or authorization by the
  Board, which has sole authority to “to approve or disapprove the transfer of church assets
  to other tax-exempt organizations” pursuant to Bylaws § 8.01. Weems knew, based on his
  experience with the first PPP loan, that these expenses were not permitted under the PPP
  loan program and would result in the Church’s inability to seek forgiveness of the loan.
  The result of these transfers was an increase of the Church’s debt by more than $1 million.




  4 TurnCoin is discussed in greater detail in Section II(B)(3).
  5 Weems is the President of Honey Lake Farms, Inc. and therefore transferred these funds

  as an “advance” on giving based on inflated revenue projections that would not be hit,
  resulting in a significant overpayment.
  6 The transferred funds were used to purchase TurnCoin at Weems’ direction, as discussed

  in Section II(B)(3) below.
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          Weems also derived a direct financial benefit from these transactions. As discussed
  in greater detail below, Weems bundled these funds with others so that he could qualify
  as a “legacy investor” in TurnCoin. Legacy investors were entitled to be paid back before
  other investors and were entitled to 10% interest on their investment.

               3. TurnCoin

         TurnCoin is a digital security designed by TheXchange Pte. Ltd, a Singapore
  private company. TurnCoin would be used by fans to buy or sell “non-fungible
  cryptographic tokens” known as VirtualStax Cards that depict public figures such as
  athletes, movie stars, musicians, and other celebrities. By selling VirtualStax Cards,
  celebrities would be able “to monetize their social media following.”

          A private placement memorandum issued by the company in March 2021 includes
  the following disclaimer:

        THIS INVESTMENT INVOLVES A HIGH DEGREE OF RISK AND IS
        SUITABLE ONLY FOR PERSONS WHO CAN BEAR THE ECONOMIC
        RISK FOR AN INDEFINITE PERIOD OF TIME AND WHO CAN AFFORD
        TO LOSE THEIR ENTIRE INVESTMENT. FURTHERMORE, INVESTORS
        MUST UNDERSTAND THAT THIS INVESTMENT IS ILLIQUID AND IS
        EXPECTED TO CONTINUE TO BE ILLIQUID FOR AN INDEFINITE
        PERIOD OF TIME. NO PUBLIC MARKET EXISTS FOR THE SECURITIES,
        AND NO PUBLIC MARKET IS EXPECTED TO DEVELOP FOLLOWING
        THIS OFFERING. SEE “RISK FACTORS.”

         Celebration’s cash reserves in mid-2021, when Weems decided to invest in
  TurnCoin, were substantially diminished and the Church could not afford to bear such a
  high risk for an indefinite period. Moreover, as mentioned above, the Board—not
  Weems—had authority to approve these decisions. Nevertheless, Weems acted
  unilaterally without presenting these proposed expenditures to the Board for its review
  and approval. As stated in the private placement memorandum, these funds are illiquid
  and cannot currently be accessed or utilized by the Church or entities.

          Weems was also deceptive about the TurnCoin investments. When he first
  approached another pastor and friend about investing in TurnCoin, The pastor declined.
  Needing to bundle investors to qualify as a legacy investor, Weems decided to fund the
  pastor’s investment through Celebration. Weems directed the Church’s accounting staff
  to transfer $100,000 to the pastor’s ministry account from the Church’s Heart for the
  House Pentecost Offering. Heart for the House is a giving campaign in which
  Celebration’s members are encouraged to make sacrificial, meaningful offerings to fund
  initiatives to transform lives through Jesus Christ. Weems told Celebration staff that the
  funds were to be used for a revival. Later, the pastor told the Church that Weems had
  directed him to invest the funds in TurnCoin as part of Weems’ legacy investment group,
  which he did. To date, the funds have not been used for a revival.



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         Weems was also deceptive in how he showed these investments on Celebration’s
  financial statements. In an email dated May 5, 2021, Weems instructed the Church’s
  Human Resources Director that the TurnCoin investment be shown “as a cash currency
  on the books just like Bitcoin would.”. But TurnCoin is a digital security, not a
  cryptocurrency. TurnCoin is currently illiquid and cannot be sold on a market – it is not
  a “cash currency.” Identifying TurnCoin as a currency on Celebration’s balance sheets is
  a fundamental mischaracterization of the asset.

         In total, $500,000 in Church debt was invested in TurnCoin, but only $100,000
  was invested in the Church’s name. The remaining $400,000 was given away to other
  entities that Weems controlled (Honey Lake Farms, AWKNG) or people with whom he
  had a personal relationship.

          None of these transactions were presented to or authorized by the Board, as
  required by the Church’s articles of incorporation, bylaws, and Board policies regarding
  expenditures.7 Furthermore, high-risk investments such as these are inconsistent with
  the Church’s investment risk profile and its duty to serve as a faithful steward of
  sacrificially-donated funds.

               4. Fraudulent mischaracterization and cancellation of Honey Lake Farms
                  debt

         Over the years, the Church made intercompany loans for the development and
  operation of Honey Lake Farms. These loans included a loan of $1,366,471.43 for the
  construction of a lodge building at the Farms. For years, this amount had been reflected
  as an asset of the Church (Accounts Receivable) and a liability of the Farms (Accounts
  Payable).

         In January 2021, Weems inquired as to whether this loan should be forgiven by the
  Church. When it was explained to him that a consequence of the loan’s forgiveness would
  be a negative impact to the Church’s financial position, he determined that was not in the
  Church’s best interest and dropped the matter.

           In August 2021, Weems applied for a loan from First Citizens Bank on behalf of
  Honey Lake Farms, Inc. In connection with the application, HLF submitted financial
  statements to support its loan application. These statements, consistent with their
  historical characterizations, showed this as a liability of HLF. However, in order to
  improve HLF’s financial statement to increase the likelihood of the loan’s approval,
  Weems unilaterally determined to recharacterize this as an asset of the Farms, not a
  liability. He first told First Citizens that Honey Lake Clinic actually owed this money to
  the Farms. When the bank attempted to clarify this with the Clinic, the Clinic declined to
  recognize it as a legitimate receivable (because it wasn’t).


  7 In 2020, the Board imposed a limit of $5,000 on expenditures that did not require Board

  authorization. Any expenses over this amount were required to be approved by the Board.
  The Board imposed this policy to prevent situations like this.
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         When the bank officer questioned the legitimacy of this entry (describing it as
  improper accounting), Weems expressed exasperation that the bank would attempt to
  confirm the information on the financial statements submitted by HLF (“I can’t believe
  she asked [redacted] to do that.”). The officer and Celebration’s bookkeeping staff had a
  call in which the officer informed Celebration that the manipulation of financial
  statements in connection with a loan application was extremely serious and improper. To
  “resolve” the issue, Weems directed the Church’s accountants to write off the $1.3 million
  debt on the Church’s books so that it could be deleted as a liability on HLF’s books. At
  Weems’ direction, HLF’s financial statements were revised to reflect this $1.3 million
  improvement in its financial position. All of this was done without board authorization at
  a time when the Church’s financial position had eroded significantly.

         The fraudulent manipulation of HLF’s financial statements and unauthorized debt
  forgiveness in connection with a loan application violates Florida and federal law.

               5. Misappropriation of Designated Funds

         At Weems’ direction, AWKNG solicited members of the Church to donate funds
  that AWKNG was to use for missions trips. Ultimately, AWKNG received donations in the
  amount of $29,486.75 that were solicited and designated for missions trips. After
  AWKNG was shut down in January 2021, Celebration was required to assume
  responsibility for conducting those mission trips. Despite Celebration’s repeated
  requests, AWKNG has refused to transfer these designated funds to the Church or to
  account for their whereabouts. It therefore appears that AWKNG used these designated
  funds for an improper and unauthorized purpose.

               6. BBVA/PNC Bank Termination of access to credit lines

         For years, the Church used BBVA Compass (now PNC Bank) as its primary bank
  and lender. In 2019, BBVA issued Celebration a credit line of $2 million that was linked
  to 75 credit cards that church staff used for operational expenses across the Church’s
  many locations. This credit line was contingent on Celebration maintaining a balance of
  $2 million in deposits at the bank. Credit cards were also issued to AWKNG and Honey
  Lake Farms, Inc. Those entities’ cards were not linked to the Church’s operating accounts.

         In January 2021, Weems directed new CFO Tojy Thomas to switch banks from
  BBVA to First Citizens Bank. This decision was unilaterally made without regard to the
  impact that this move could have on the Church’s credit line. After the banking change, a
  minimal amount of money remained with BBVA but the church still depended on the
  credit cards to fund operational expenses and manage its cash balance.

          On November 8, 2021, PNC notified the church that AWKNG (operated by Weems)
  had missed a payment. This default triggered the bank to evaluate all related accounts.
  PNC’s evaluation led to a reduction in Celebration’s commercial credit card limit from $2
  million to $200,000 because Celebration had moved its operating account. Because the
  Church averaged $400,000 per month in credit card expenses, the reduction in this credit
  line significantly limited the Church’s ability to fund operations and almost wiped out all

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  its cash reserves. The Church attempted to acquire new commercial credit cards with First
  Citizens but they were only willing to offer a $70,000 limit given the significant financial
  losses the church had suffered to date. On April 8, 2022, PNC announced that it was
  revoking Celebration’s credit line in its entirety, leaving the Church in a cash-only
  position.

         The loss of the Church’s access to short-term credit has resulted in a significant
  impact to its operations. This was caused by Weems’ depletion of the Church’s cash
  reserves through the above unauthorized transactions and his hasty and poor decision-
  making.

                                   III.   CONCLUSIONS

         Through the actions described above, Stovall Weems violated the law by breaching
  his fiduciary duties to Celebration, committing fraud, unjustly enriching himself at the
  expense of the Church, and failing to meet the fiduciary duties and standards of care
  required by his office. He has brought Celebration to the brink of insolvency. The current
  amount of Accounts Receivable that remain outstanding and unpaid is $3,389,835
  (excluding the embezzled profit from the Shellcracker sale). But for the steadying
  leadership of Pastor Tim Timberlake and the actions of Celebration’s Board, Celebration
  would have likely already failed as an institution.

          Spiritually, the Weemses have acted with arrogance, pride, deception,
  manipulation, selfishness, dishonesty, greed, entitlement, conceit, and unrepentance. In
  short, the antithesis of biblical leadership as described in scripture:

         Watch out for false prophets. They come to you in sheep’s clothing, but
         inwardly they are ferocious wolves. By their fruit you will recognize them.
         Do people pick grapes from thornbushes, or figs from thistles? Likewise,
         every good tree bears good fruit, but a bad tree bears bad fruit. A good tree
         cannot bear bad fruit, and a bad tree cannot bear good fruit. Every tree that
         does not bear good fruit is cut down and thrown into the fire. Thus, by their
         fruit you will recognize them.

                                            Matthew 7:15-20.

         To the elders among you, I appeal as a fellow elder and a witness of Christ’s
         sufferings who also will share in the glory to be revealed: Be shepherds of
         God’s flock that is under your care, watching over them—not because you
         must, but because you are willing, as God wants you to be; not pursuing
         dishonest gain, but eager to serve; not lording it over those entrusted to you,
         but being examples to the flock.

                                            1 Peter 5:1-3.




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        Whoever aspires to be an overseer desires a noble task. Now the overseer is
        to be above reproach, faithful to his wife, temperate, self-controlled,
        respectable, hospitable, able to teach, not given to drunkenness, not violent
        but gentle, not quarrelsome, not a lover of money. He must manage his own
        family well and see that his children obey him, and he must do so in a
        manner worthy of full[a] respect. (If anyone does not know how to manage
        his own family, how can he take care of God’s church?)

                                           1 Timothy 3:1-5.

        An elder must be blameless, faithful to his wife, a man whose children
        believe and are not open to the charge of being wild and disobedient. Since
        an overseer manages God’s household, he must be blameless—not
        overbearing, not quick-tempered, not given to drunkenness, not violent, not
        pursuing dishonest gain. Rather, he must be hospitable, one who loves what
        is good, who is self-controlled, upright, holy and disciplined. He must hold
        firmly to the trustworthy message as it has been taught, so that he can
        encourage others by sound doctrine and refute those who oppose it.

                                           Titus 1:6-9.

         The biblical standards for leadership in the church are high, and Stovall and Kerri
  Weems have demonstrated a longstanding pattern of falling short of this measure.
  Pastors, employees, trustees, friends, co-workers, and independent consultants have
  attempted to address these failings without success. Worse, the Weemses are completely
  unrepentant. Instead of accepting this investigation with humility, they have sought to
  attack and undermine it, by making statements to the news media and on their social
  media accounts and by attempting to seize control of the Church through the court
  system. Stovall Weems has repeatedly disparaged the Church’s leaders and has refused to
  accept any responsibility for the trauma and profound hurt that he and Kerri Weems have
  caused to many. Through their actions, Stovall and Kerri Weems have disqualified
  themselves from pastoral leadership.

        1 Timothy 5:19-20 lays out a process by which the Weemses are to be rebuked, and
  the Church’s bylaws provide for a process of conciliation that Celebration should follow.
  Additionally, the Church should consider taking the following recommended actions.




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                                IV.     RECOMMENDATIONS

        1.     Accept the resignation of Stovall Weems and Kerri Weems as employees of
  Celebration effective April 15, 2022 without further compensation or benefits.

        2.      Pursue the permanent removal of Stovall Weems and Kerri Weems from
  any positions of authority relating to the Church, Honey Lake Farms, Honey Lake Clinic,
  and AWKNG.

        3.     Require Stovall Weems and Kerri Weems to account for and return to the
  Church all funds misappropriated by them.

        4.         Remove Stovall Weems and Kerri Weems from the parsonage and sell the
  property.

         5.  Require Northstream Management, Habitat for Wholeness, Honey Lake
  Farms and AWKNG to repay all receivables and loans made by the Church to those
  entities.

        6.     Report these findings to the appropriate authorities to determine whether
  criminal charges should be brought.

        7.         Engage in the Christian Conciliation Process outlined in Celebration’s
  bylaws.




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